






	









	

						


NUMBER 13-09-00270-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

								

MARTHA CATALINA BETTS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On Appeal from the 36th District Court


of Aransas County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez and Garza and Vela 


Memorandum Opinion Per Curiam



	Appellant, Martha Catalina Betts, by and through her attorney, has filed a motion
to dismiss her appeal because she no longer desires to prosecute it.  See Tex. R. App. P.
42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.



								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and filed

this 23rd day of July, 2009.


